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     In the United States Court of Federal Claims
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       2Q -DQXDU\   WKH SDUWLHV ILOHG D MRLQW VWLSXODWLRQ FRQFHUQLQJ WKH
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3HWLWLRQHU DOOHJHG WKDW WKH LQIOXHQ]D ³IOX´ YDFFLQH VKH UHFHLYHG RQ 6HSWHPEHU 
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V\QGURPH ³*%6´  3HWLWLRQHU IXUWKHU DOOHJHV WKDW VKH VXIIHUHG WKH UHVLGXDO HIIHFWV
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SULRU DZDUG RU VHWWOHPHQW RI D FLYLO DFWLRQ IRU GDPDJHV RQ KHU EHKDOI DV D UHVXOW RI
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         7KH (*RYHUQPHQW $FW  86&   QRWH  )HGHUDO 0DQDJHPHQW DQG
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ZHEVLWH 3XUVXDQW WR 9DFFLQH 5XOH  E  WKH SDUWLHV KDYH  GD\V WR ILOH D PRWLRQ SURSRVLQJ
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$Q\ UHGDFWLRQV RUGHUHG E\ WKH VSHFLDO PDVWHU ZLOO DSSHDU LQ WKH GRFXPHQW SRVWHG RQ WKH ZHEVLWH
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     5HVSRQGHQW GHQLHV WKDW WKH IOX DQGRU 7GDS YDFFLQHV FDXVHG SHWLWLRQHU¶V
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      1HYHUWKHOHVV WKH SDUWLHV DJUHH WR WKH MRLQW VWLSXODWLRQ DWWDFKHG KHUHWR 7KH
XQGHUVLJQHG ILQGV VDLG VWLSXODWLRQ UHDVRQDEOH DQG DGRSWV LW DV WKH GHFLVLRQ RI WKH
&RXUW LQ DZDUGLQJ GDPDJHV RQ WKH WHUPV VHW IRUWK WKHUHLQ

       'DPDJHV DZDUGHG LQ WKDW VWLSXODWLRQ LQFOXGH

       D $ OXPS VXP SD\PHQW RI  LQ WKH IRUP RI D FKHFN SD\DEOH
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       E $Q DPRXQW VXIILFLHQW WR SXUFKDVH WKH DQQXLW\ FRQWUDFW GHVFULEHG LQ
          SDUDJUDSK  RI WKH VWLSXODWLRQ SDLG WR WKH OLIH LQVXUDQFH FRPSDQ\
          IURP ZKLFK WKH DQQXLW\ ZLOO EH SXUFKDVHG

            7KHVH DPRXQWV UHSUHVHQW FRPSHQVDWLRQ IRU DOO GDPDJHV WKDW ZRXOG
            EH DYDLODEOH XQGHU  86&  DD D 

       ,Q WKH DEVHQFH RI D PRWLRQ IRU UHYLHZ ILOHG SXUVXDQW WR 5&)& $SSHQGL[ %
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&ODLPV MXGJH
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